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             AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                                  UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF CALIFORNIA
                           UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                      V.                                          (For Offenses Committed On or After November 1, 1987)


                              Edith Espiritu Comparan                                Case Number:        22-cr-02648-VET

                                                                                  Gerardo A Gonzalez
                                                                                  Defendant's Attorney
             USM Number                         28030510
             □     -                                                                                                       Jun 14 2024
             THE DEFENDANT:
             ~     pleaded guilty to count(s)      1 and 2 of the Sup_erseding Information                                     s/ RC


             D   was found guilty on count(s)
                 after a olea of not guiltv.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                   Count
             Title & Section                     Nature of Offense                                                                Numberfll

             21 USC 844                          Possession of Methamphetamine (Misdemeanor)                                            ls
                                                 Possession of Fentanyl (Misdemeanor)                                                   2s
             21 USC 844



                  The defendant is sentenced as provided in pages 2 through           4   of this judgment.
             The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                                   ------
             D     The defendant has been found not guilty on count(s)

             ~     Count(s)    All underlying counts                        are         dismissed on the motion of the United States.

             ~     Assessment : $50.00 - imposed
             D     Pursuant to the motion of the United States under 18 USC 3573 , the special assessment provided for under 18 USC 3013 is
                   waived and remitted as uncollectible.
             D     NT A Assessment* : $
                   *Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
             ~   No fine                D Forfeiture pursuant to order filed                                        , included herein.
                    IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
             change of name, residence, or mailing address until all fines , restitution, costs, and special assessments imposed by this
             judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
             any material change in the defendant' s economic circumstances.




                                                                                   'ON. VALERIE E. TORRES
                                                                                  UNITED STA TES MAGISTRATE JUDGE
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                                                        PROBATION
The defendant is hereby sentenced to probation for a term of:
1 YEAR SUPERVISED PROBATION (CONCURRENT TO EACH COUNT)

                                            MANDATORY CONDITIONS
1. The defendant must not commit another federal , state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          □ The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4. □ The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. i:8J The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    □ The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
    20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
    the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
    applicable)
7. □ The defendant must participate in an approved program for domestic violence. (check if applicable)
8. The defendant must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine , the defendant must pay in accordance with the Fine sheet of this judgment.
10. The defendant must notify the court of any material change in their economic circumstances that might affect their ability
    to pay restitution, fines , or special assessments.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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            DEFENDANT:                   Edith Espiritu Comparan                                                                Judgment - Page 3 of 4
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                                                 STANDARD CONDITIONS OF SUPERVISION
           As part of the defendant's probation, the defendant must comply with the following standard conditions of supervision.
           These conditions are imposed because they establish the basic expectations for the defendant' s behavior while on
           supervision and identify the minimum tools needed by probation officers to keep informed, report to the court about,
           and bring about improvements in the defendant ' s conduct and condition.

           I. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
              hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
              office or within a different time frame.

           2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
              about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
              as instructed.

           3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
              getting permission from the court or the probation officer.

           4. The defendant must answer truthfully the questions asked by their probation officer.

           5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
              anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
              probation officer at least 10 days before the change. Ifnotifying the probation officer in advance is not possible due to
              unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
              expected change.

           6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
              permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
              view.

           7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
              excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
              time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
              defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
              probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
              due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
              change or expected change.

           8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
              knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
              first getting the permission of the probation officer.

           9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

           10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
               anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
               as nunchakus or tasers).

           11 . The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                informant without first getting the permission of the court.

           12 .Ifthe probation officer determines the defendant poses a risk to another person (including an organization), the probation
               officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
               The probation officer may contact the person and confirm that the defendant notified the person about the risk.

           13 . The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                                                           SPECIAL CONDITIONS OF SUPERVISION

                                 1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer and
                                    comply with both United States and Mexican immigration laws.
                                 2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
                                 3. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C.
                                    § 1030(e)(l)), other electronic communications or data storage devices or media,] or office, to a search
                                    conducted by a United States probation officer. Failure to submit to a search may be grounds for
                                    revocation of release. The offender must warn any other occupants that the premises may be subject
                                    to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only
                                    when reasonable suspicion exists that the offender has violated a condition of his supervision and that
                                    the areas to be searched contain evidence of this violation. Any search must be conducted at
                                    a reasonable time and in a reasonable manner.




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